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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 In re:                                    §
                                           §      Chapter 7
 ALEXANDER E. JONES,                       §
                                           §      Case No. 22-33553
                     Debtor                §

                        NOTICE OF STATUS CONFERENCE
                            [Relates to Docket No. 1]

       PLEASE TAKE NOTICE that a Status Conference has been scheduled for

Monday, November 25, 2024 at 2:00 p.m. (prevailing Central Time) before the

Honorable Christopher M. Lopez, United States Bankruptcy Judge, at 515 Rusk,

Courtroom 401, Houston, Texas 77002. You may participate in the hearing by appearing

either in person or by an audio and video connection.

       PLEASE TAKE FURTHER NOTICE audio communication will be by use of the

Court’s dial-in facility. You may access the facility at 832-917-1510. Once connected, you

will be asked to enter the conference number. Judge Lopez’s conference room number is

590153. Video communication will be by use of the GoToMeeting platform. Connect via

the free GoToMeeting application or click the following link, which is also provided on the

Judge’s home page: www.gotomeet.me/JudgeLopez. To use GoToMeeting, the Court

recommends that you download the free GoToMeeting application prior to the hearing.

The meeting code is “JudgeLopez.” Click the setting icon in the right corner and enter

your name under the personal information setting.

       PLEASE TAKE FURTHER NOTICE hearing appearances must be made

electronically in advance of both electronic and in-person hearings. To make your

appearance, click the “Electronic Appearance” link on Judge Lopez’s home page. Select




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the case name, complete the required fields, and click “Submit” to complete your

appearance.

      Respectfully submitted this 6th day of November 2024.

                                Respectfully submitted,

                                CAIN & SKARNULIS PLLC
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                           CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Status
Conference has been served on Debtor’s counsel, Debtor, and all parties receiving or
entitled to notice through CM/ECF on this 6th day of November 2024.

                                             /s/ Ryan E. Chapple
                                       Ryan E. Chapple




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